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                                                    REDACTED PURSUANT TO
                                           PROTECTIVE ORDER (DKT. NO. 22)

                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                            ALEXANDRIA DIVISION


 REYNOLDS CONSUMER PRODUCTS INC.,

                        Plaintiff,
                                            Civil Action No.: 1:13-CV-214 LO/TRJ
             v.

 HANDI-FOIL CORPORATION,

                        Defendant.




                  PLAINTIFF’S PROPOSED JURY INSTRUCTIONS




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                 PLAINTIFF’S SUMMARY OF THE PARTIES’ CONTENTIONS

         As I did at the start of the case, I will first give you a summary of each side’s contentions

 in this case. I will then provide you with detailed instructions on what each side must prove to

 win on each of its contentions.

         As I previously told you, Reynolds seeks an injunction and money damages from Handi-

 Foil for trademark and trade dress infringement, trademark and trade dress dilution, unfair

 competition under Federal and Virginia law, false advertising and unjust enrichment. Reynolds’

 claims are based on Reynolds’ allegation that Handi-Foil’s packaging for its aluminum roll foil

 product infringes Reynolds’ trade dress and trademarks related to Reynolds’ Reynolds Wrap®

 packaging, that Handi-Foil falsely designated the origin of if its aluminum roll foil product on its

 packaging, that Handi-Foil made certain claims to the marketplace about its product that

 Reynolds alleges constitute false advertising, that Handi-Foil’s actions constitute unfair

 competition, and that Handi-Foil was unjustly enriched through its allegedly wrongful activities

 at Reynolds’ expense.

         Handi-Foil denies each and every of Reynolds’ allegations.

         Your job is to decide whether Reynolds has proven any of its claims. If you decide that

 Reynolds has proven any of its claims, you will then need to decide any money damages to be

 awarded to Reynolds to compensate it for Handi-Foil’s actions. If you find that Handi-Foil

 infringed Reynolds’ trademark or trade dress, you will also need to make a finding as to whether

 the infringement was willful.

         In this case, either party may have the burden of proving an element of its case. The

 burden of proof that you will apply to the evidence in this case is called “preponderance of the

 evidence.” A preponderance of the evidence means that the fact that is to be proven is more



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 likely true than not.1 In other words, if you were to put the parties’ evidence on opposite sides

 of the scales, you would need to find that the scales tip, however slightly, in favor of the party

 with the burden of proof.2

         These standards are different from, and lower than, what you may have heard about in

 criminal proceedings where a fact must be proven beyond a reasonable doubt.




 1
  Concrete Pipe and Products of Calif., Inc. v. Construction Laborers Pension Trust of Southern
 Calif., 508 U.S. 602, 622 (1993) (“The burden of showing something by a ‘preponderance of the
 evidence,’ the most common standard in the civil law, ‘simply requires the trier of fact ‘to
 believe that the existence of a fact is more probable than its nonexistence before [he] may find in
 favor of the party who has the burden to persuade the [judge] of the fact's existence.’”) (citations
 omitted).
 2
   Ostrowski v. Atlantic Mut. Ins. Cos., 968 F.2d 171, 187 (2d Cir. 1992) (“the court should
 instruct the jury that it is to conclude that a fact has been proven by a preponderance of the
 evidence if it ‘find[s] that the scales tip, however slightly, in favor of the party with the burden of
 proof” as to that fact”) (citing Sand, Modern Federal Jury Instructions ¶ 73.01, at 73–4 (1992));
 see also Blossom v. CSX Trasnport, Inc., 13 F.3d 1477, 1480 (11th Cir. 1994) (approving as “a
 proper illustration” of preponderance of the evidence as “if you were to put plaintiff's and
 defendant's evidence on opposite sides of the scales, plaintiff would have to make the
 scales tip slightly on that side,” citing Manual of Model Jury Instructions for the Ninth Circuit,
 Civil Instruction 10.08 (1985)).

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                      PLAINTIFF’S PROPOSED INSTRUCTION NO. 1

                              DEFINITION OF “TRADEMARK”

         A trademark includes any word, name, symbol, or device, or any combination thereof

 used to identify and distinguish goods, including a unique product, from those manufactured or

 sold by others and to indicate the source of the goods, even if that source is unknown.3




 3
   15 U.S.C. § 1127; Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 768 (1992) (“A
 trademark is defined in 15 U.S.C. § 1127 as including ‘any word, name, symbol, or device or any
 combination thereof’ used by any person ‘to identify and distinguish his or her goods, including
 a unique product, from those manufactured or sold by others and to indicate the source of the
 goods, even if that source is unknown.’”)

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                        PLAINTIFF’S PROPOSED INSTRUCTION NO. 2

                               DEFINITION OF “TRADE DRESS”

           “Trade dress” is a type of trademark.4 “Trade dress” of a product consists of its total

 image and overall appearance, including its size, shape, color or color combinations, texture,

 graphics, or even particular sales techniques.5




 4
     Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 774 (1992)
 5
  Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 764 n.1 (1992) (“‘The ‘trade dress’ of a
 product is essentially its total image and overall appearance.’ It ‘involves the total image of a
 product and may include features such as size, shape, color or color combinations, texture,
 graphics, or even particular sales techniques.’”) (citations omitted); Ashley Furniture Indus., Inc.
 v. SanGiacomo N.A. Ltd., 187 F.3d 363, 368 (4th Cir. 1999)

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 3

                   TRADEMARK AND TRADE DRESS INFRINGEMENT

         To establish trademark or trade dress infringement, Reynolds must prove: (1) that it owns

 a valid trademark or trade dress; (2) that Handi-Foil used the trademark or trade dress “in

 commerce” and without Reynolds’ authorization; (3) that Handi-Foil used the trademark or trade

 dress (or an imitation of it) “in connection with the sale, offering for sale, distribution, or

 advertising” of goods or services; and (4) that Handi-Foil’s use of the trademark or trade dress is

 likely to confuse consumers.6

         In this case, only element (4) – likelihood of confusion – is in dispute.

         Where the trademark in question is trade dress, Reynolds must prove (1) that its trade

 dress is primarily non-functional; (2) that Handi-Foil’s use of its packaging creates a likelihood

 of confusion; and (3) that Reynolds’ trade dress is either (a) inherently distinctive or (b) has

 acquired secondary meaning.7




 6
   Rosetta Stone Ltd. v Google, Inc., 676 F.3d 144, 152 (4th Cir. 2012) (“To establish trademark
 infringement under the Lanham Act, a plaintiff must prove: (1) that it owns a valid mark; (2) that
 the defendant used the mark ‘in commerce’ and without plaintiff’s authorization; (3) that the
 defendant used the mark (or an imitation of it) ‘in connection with the sale, offering for sale,
 distribution, or advertising’ of goods or services; and (4) that the defendant’s use of the mark is
 likely to confuse consumers.”).
 7
  Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 368 (4th Cir. 1999) (“To
 prove a case of trade dress infringement, a party must demonstrate that (1) its trade dress is
 primarily non–functional; (2) the alleged infringement creates a likelihood of confusion; and, (3)
 the trade dress either (a) is inherently distinctive, or (b) has acquired a secondary meaning.”).

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 4

                       ESTABLISHING LIKELIHOOD OF CONFUSION

         Likelihood of confusion is determined based on weighing a number of factors, including:

         (1) the strength or distinctiveness of Reynolds’ trademark or trade dress as

 actually used in the marketplace;

         (2) the similarity of the two trademarks or trade dress to consumers;

         (3) the similarity of the goods or services that the trademarks or trade dress

 identify;

         (4) the similarity of the facilities used by the parties;

         (5) the similarity of advertising used by the parties;

         (6) Handi-Foil’s intent;

         (7) actual confusion;

         (8) the quality of Handi-Foil’s product; and

         (9) the sophistication of the consuming public.8




 8
  Rosetta Stone Ltd. v Google, Inc., 676 F.3d 144, 153 (4th Cir. 2012) (“This court has articulated
 at least nine factors that generally are relevant to the ‘likelihood of confusion’ inquiry: (1) the
 strength or distinctiveness of the plaintiff’s mark as actually used in the marketplace; (2) the
 similarity of the two marks to consumers; (3) the similarity of the goods or services that the
 marks identify; (4) the similarity of the facilities used by the markholders; (5) the similarity of
 advertising used by the markholders; (6) the defendant’s intent; (7) actual confusion; (8) the
 quality of the defendant’s product; and (9) the sophistication of the consuming public.”).

                                                     6
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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 5

                  EVALUATING THE LIKELIHOOD OF CONFUSION FACTORS

          The likelihood of confusion factors are not always weighted equally, and not all factors

  are relevant in every case. In fact, there is no need for each factor to support Reynolds’ position

  for Reynolds to establish likelihood of confusion.9




  9
    Rosetta Stone Ltd. v Google, Inc., 676 F.3d 144, 154 (4th Cir. 2012) (“These factors are not
  always weighted equally, and not all factors are relevant in every case. In fact, there is no need
  for each factor to support [the plaintiff’s] position on the likelihood of confusion issue.”)
  (citations omitted).

                                                  7
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                         PLAINTIFF’S PROPOSED INSTRUCTION NO. 6

                   VALIDITY AND OWNERSHIP OF REYNOLDS TRADE DRESS

            An owner of trade dress may obtain a certificate of registration issued by the United

  States Patent and Trademark Office.10 A certificate of registration for trade dress is presumptive

  evidence of the validity of the registered trade dress and of the registration of the trade dress, of

  the owner’s ownership of the trade dress, and of the owner’s exclusive right to use the registered

  trade dress in commerce on or in connection with the goods or services specified in the

  certificate.11

            Reynolds has registered and obtained certificates of registration for the Reynolds’ trade

  dress.




  10
       15 U.S.C. § 1057(a).
  11
       15 U.S.C. § 1057(b).

                                                    8
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                          PLAINTIFF’S PROPOSED INSTRUCTION NO. 7

          INCONTESTABILITY OF REYNOLDS TRADEMARK AND TRADE DRESS

            A trademark or trade dress that has been registered with the U.S. Patent and Trademark

  Office becomes incontestable after five years of continuous use.12 An incontestable mark is

  conclusively determined to be distinctive and to have secondary meaning, and the trademark

  owner is conclusively determined to own the mark and have exclusive rights to it.13

            The REYNOLDS WRAP® and Reynolds’ trade dress registrations are incontestable.




  12
       15 U.S.C. § 1065
  13
    15 U.S.C. § 1115(b); Retail Servs. Inc. v. Freebie Publishing, 364 F.3d 535, 548 (4th Cir.
  2004) (“If a registered trademark becomes incontestable, the rebuttable presumption that a
  registered mark has acquired secondary meaning becomes ‘conclusive evidence of the
  registrant’s exclusive right to use the registered mark’ subject to a number of affirmative
  defenses enumerated in the Lanham Act.”).

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                          PLAINTIFF’S PROPOSED INSTRUCTION NO. 8

       LIKELIHOOD OF CONFUSION FACTORS – STRENGTH OR DISTINCTIVENESS

             The first likelihood of confusion factor focuses on the strength of the mark. Generally,

  the stronger the mark, the greater the likelihood that consumers will be confused by competing

  uses of the mark. Strength consists of both conceptual strength and commercial strength.14

             A mark’s conceptual strength is determined by its placement into one of five categories

  of distinctiveness: (1) generic; (2) descriptive; (3) suggestive; or (4) arbitrary or (5) fanciful.15

  Because Reynolds trade dress is incontestable it is conclusively determined to be distinctive.16

  Suggestive, arbitrary and fanciful marks are inherently distinctive and receive the greatest

  protection against infringement.17 See instruction 8A below regarding determining the inherent

  distinctiveness of trade dress.

             The second step in the strength analysis considers the commercial strength of the trade

  dress. In analyzing commercial strength the factors to consider are: (1) Reynolds’ advertising

  expenditures; (2) consumer studies linking Reynolds trade dress to a source; (3) Reynolds’

  record of sales success; (4) unsolicited media coverage of the Reynolds’ business; (5) attempts to

  plagiarize Reynolds’ trade dress; and (6) the length and exclusivity of Reynolds’ use of the trade

  dress.18


  14
       George & Co. LLC v. Imagination Entertainment Ltd., 575 F.3d 383, 393 (4th Cir. 2009).
   George & Co. LLC v. Imagination Entertainment Ltd., 575 F.3d 383, 394 (4th Cir. 2009);
  15

  Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 368 (4th Cir. 1999).
  16
       15 U.S.C. § 1115(b).
  17
    Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 369 (4th Cir. 1999)
  (“suggestive, arbitrary, and fanciful marks are deemed inherently distinctive and are entitled to
  protection”) (citation omitted); Sara Lee Corp. v. Kayser-Roth Corp., 81 F.3d 455, 464 (4th Cir.
  1996) (“‘Fainciful,’ ‘arbitrary,’ and ‘suggestive’ marks are inherently distinctive, and thus
  receive the greatest protection against infringement.”).
  18
       George & Co. LLC v. Imagination Entertainment Ltd., 575 F.3d 383, 395 (4th Cir. 2009).

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          To the extent that Handi-Foil contends there is such extensive third party use of similar

  trade dress on aluminum foil boxes that Reynolds’ trade dress must be considered weak, it is

  Handi-Foil’s burden to show, by a preponderance of the evidence, the nature, extent, and scope

  of actual use by competitors of similar trade dress.19 Third party uses of trademarks or trade

  dress may weaken strength only if Handi-Foil shows such usage is so widespread that it is

  recognized by consumers to weaken recognition of the Reynolds’ trade dress.20




  19
    McCarthy on Trademarks and Unfair Competition § 11.88 (The “evidentiary impact of third
  party marks turns entirely upon the probable impact that the use of these marks has had on the
  mind of the target group.”); Scotch Whisky Ass’n v. Majestic Distilling Co., 958 F.2d 594, 598
  (4th Cir. 1992) (“third party registrations may not be evidence of use of the mark nor the public’s
  understanding of the mark”) citing Scarves by Vera, Inc. v. Todo Imports, Ltd., 544 F.2d 1167,
  1173 (2d Cir. 1976) (significance of third party uses “depends wholly upon their usage”
  including whether such uses “were well promoted or that they were recognized by consumers”).
  20
    Smith Bros. Mfg. Co. v. Stone Mfg. Co., 476 F.2d 1004, 1005 (C.C.P.A. 1973) (“in the absence
  of any evidence showing the extent of use of any of such marks or whether any of them are now
  in use, they provide no basis for saying that the marks have had, or may have, any effect at all on
  the public mind so as to have a bearing on likelihood of confusion.”); Han Beauty, Inc. v.
  Alberto-Culver Co., 236 F.3d 1333, 1338 (Fed. Cir. 2001) (probative value of third party use was
  minimal because the record included “no evidence about the extent of those uses”).

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 8A

                      INHERENT DISTINCTIVENESS OF TRADE DRESS

          Trade dress is the “total image” of a product, and thus the relevant inquiry is not whether

  the individual components of a design are common or not, but rather whether the alleged trade

  dress as a whole is inherently distinctive.21 To be sure, a basic overall design that is “common”

  or simply a “refinement of a commonly-adopted and well-known” design cannot be inherently

  distinctive.22   But the fact that design elements have been used separately before does not

  foreclose the possibility that their combination in a new, unique way will create an inherently

  distinctive trade dress.23

          In determining inherent distinctiveness, the question is not whether a product design

  identifies a product, is likely to identify a product, or is likely to be understood as identifying a

  product. Rather, that the question is whether the design is capable of identifying a product, that

  is, whether, consciously or not, consumers would be impressed enough by a product design that

  if they were to see something sufficiently like it, it would be reasonable for them to assume




  21
    Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 373 (4th Cir. 1999) (“In
  fact, trade dress is the ‘total image’ of a product, and thus the relevant inquiry is not whether the
  individual components of a design are common or not, but rather whether the alleged trade dress
  as a whole is inherently distinctive.”).
  22
    Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 373 (4th Cir. 1999) (“To
  be sure, a basic overall design that is ‘common’ or simply a ‘refinement of a commonly-adopted
  and well-known’ design cannot be inherently distinctive.”).
  23
    Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 373 (4th Cir. 1999)
  (“But the fact that design elements have been used separately before does not foreclose the
  possibility that their combination in a new, unique way will create an inherently distinctive trade
  dress.”) (citations omitted).

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  either that it is exactly the same product (and therefore implicitly the product of the same

  producer) or that it was a different product made by the same producer.24




  24
    Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 372-73 (4th Cir. 1999)
  (“Thus, in determining inherent distinctiveness the question is not whether a product design
  ‘identifies’ a product, is ‘likely to identify’ a product, or is ‘likely to be understood’ as
  identifying a product. We believe, rather, that the question is whether the design is ‘capable of
  identifying a product,’ that is, whether, consciously or not, consumers would be impressed
  enough by a product design that if they were to see something sufficiently like it, it would be
  reasonable for them to assume either that it is exactly the same product (and therefore implicitly
  the product of the same producer) or that it was a different product made by the same producer.”)
  (citations omitted).

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                         PLAINTIFF’S PROPOSED INSTRUCTION NO. 8B

                                            “GENERICNESS”

            A generic mark refers to the genus or class of which a particular product is a member and

  can never be protected.25 For example, the trade name “Pet Store” for a shop that sold pets

  would be generic. 26

            Because a certificate of registration for trade dress carries with it the presumption that the

  trade dress is valid, to the extent that Handi-Foil claims that Reynolds trade dress is generic,

  Handi-Foil has the burden of proving prove that the primary significance of the trade dress to the

  relevant public is to identify the class of product or service to which the mark relates rather than

  the brand of the product.27




  25
    Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 369 (4th Cir. 1999) (“A
  generic mark refers to the genus or class of which a particular product is a member and can never
  be protected.”).
  26
    Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 369 (4th Cir. 1999) (“For
  example, the trade name ‘Pet Store’ for a shop that sold pets would be generic.”).
  27
       Glover v. Ampak, Inc., 74 F.3d 57, 59 (4th Cir. 1996).

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                        PLAINTIFF’S PROPOSED INSTRUCTION NO. 8C

                               FUNCTIONALITY OF TRADE DRESS

          To be protectable trade dress, the trade dress must be primarily non-functional. Trade

  dress is functional if it is essential to the use or purpose of the article or affects the cost or quality

  of the article, that is, if exclusive use of it would put competitors at a significant non-reputation-

  related disadvantage.28 An aesthetic design would be considered functional if it would deprive

  competitors of alternative designs, and, thus, foreclose competition from the relevant market.29

  Functional features of a product are features which constitute the actual benefit that the customer

  wishes to purchase, as distinguished from an assurance that a particular entity made, sponsored,

  or endorsed a product.30

          The critical functionality inquiry is not whether each individual component of the trade

  dress is functional, but rather whether the trade dress as a whole is functional.31




  28
    Qualitex Co. v. Jacobson Products Co., 514 U.S. 159, 165 (1995) (“This Court consequently
  has explained that, ‘[i]n general terms, a product feature is functional,’ and cannot serve as a
  trademark, ‘if it is essential to the use or purpose of the article or if it affects the cost or quality of
  the article,’ that is, if exclusive use of the feature would put competitors at a significant non-
  reputation-related disadvantage.”).
  29
    Ashley Furniture Indus., Inc. v. SanGiacomo N.A. Ltd., 187 F.3d 363, 376 (4th Cir. 1999) (“If
  trade dress protection for an aesthetic design ‘would deprive competitors of alternative designs,
  and, thus, foreclose competition from the relevant market,’ the design would be considered
  functional and could not be protected.”)
  30
    Tools USA and Equipment Co. v. Champ Frame Straightening Equipment, Inc., 87 F.3d 654,
  657-58 (4th Cir. 1996) (citation omitted).
  31
    Tools USA and Equipment Co. v. Champ Frame Straightening Equipment, Inc., 87 F.3d 654,
  658 (4th Cir. 1996) (“In support of its argument that the jury erred in finding that Tools USA’s
  trade dress was non-functional, Champ focuses on individual aspects of the ‘Tools USA’ catalog
  trade dress. Champ explains at some length why it believes each feature is functional. This tactic
  ignores the fact that the critical functionality inquiry is not whether each individual component of
  the trade dress is functional, but rather whether the trade dress as a whole is functional.”).

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                          PLAINTIFF’S PROPOSED INSTRUCTION NO. 9

              LIKELIHOOD OF CONFUSION FACTORS – ACTUAL CONFUSION

            Proof of actual confusion is unnecessary to a finding of trademark infringement, the

  likelihood of confusion is the determinative factor.32        However, actual confusion can be

  demonstrated by both anecdotal and survey evidence.33 Survey evidence showing a confusion

  level of over 10% is sufficient to demonstrate actual confusion, and a confusion level of 15%-

  20% is significant.34 Survey evidence is not required to prove likelihood of confusion.35

            Strength of the trademark or trade dress, and evidence of actual confusion, may be

  sufficient to show likelihood of confusion. Where an alleged infringer has elected to use a mark

  similar to a trademark owner’s distinctive mark, and, as a result, has actually confused the

  public, the inquiry ends almost as soon as it begins.36



  32
       Shell Oil Co. v. Commercial Petroleum, Inc., 928 F.2d 104, 108 (4th Cir. 1991).
  33
    George & Co. v. Imagination Entertainment Ltd., 575 F.3d 383, 398 (4th Cir. 2009) (“Actual
  confusion can be demonstrated by both anecdotal and survey evidence.”).
  34
    Sara Lee Corp. v. Kayser-Roth Corp., 81 F.3d 455, 466-67 and n. 15 (4th Cir. 1996) (“Sara
  Lee produced additional evidence in the form of surveys that it had conducted, indicating that
  approximately thirty to forty percent of the consuming public was confused by the similarity of
  the L’eggs(R) and Leg Looks(R) marks. The district court discounted the survey evidence on the
  ground that its reliability may have been in question, but even if the true figure were only half of
  the survey estimate, actual confusion would, in our view, nevertheless exist to a significant
  degree.) (emphasis added); (“survey evidence indicating ten to twelve percent confusion was
  sufficient to demonstrate actual confusion…survey evidence showing confusion level of between
  ten and eleven percent sufficient to demonstrate actual confusion”) (citations omitted).
  35
    Tools USA and Equipment Co. v. Champ Frame Straightening Equipment, Inc., 87 F.3d 654,
  661 (4th Cir. 1996) (“Actual confusion can be demonstrated by survey evidence, but contrary to
  Champ’s suggestion, survey evidence is not necessarily the best evidence of actual confusion and
  ‘surveys are not required to prove likelihood of confusion.’”) (citations omitted).
  36
    Sara Lee Corp. v. Kayser-Roth Corp., 81 F.3d 455, 467 (4th Cir. 1996) (“We have previously
  acknowledged that the distinctiveness of the senior user’s mark is ‘the first and paramount
  factor” in determining the likelihood of confusion.’ If the strength of the senior mark is the alpha
  of infringement analysis, then evidence of actual confusion is surely the omega; where the
  defendant in an infringement case has elected to use a mark similar to that of a competitor’s

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 10

                         LIKELIHOOD OF CONFUSION FACTORS –
                        INTENT AND PRESUMPTION OF CONFUSION

          If you decide that Handi-Foil copied Reynolds’ trademark or trade dress with the intent to

  benefit from the Reynolds’ goodwill by getting consumers to believe that Handi-Foil’s product is

  the same, or originates from the same source as Reynolds, then a presumption of a likelihood of

  confusion arises.37 In that case, the burden shifts to Handi-Foil to prove, by a preponderance of

  the evidence, that consumers have not been confused.38 Absent such proof, you must conclude

  that a likelihood of confusion exists.39




  distinctive mark, and, as a result, has actually confused the public, our inquiry ends almost as
  soon as it begins.”) (citation omitted).
  37
    Osem Food Indus. Ltd. v. Sherwood Foods, Inc., 917 F.2d 161, 165 (4th Cir. 1990) (“When a
  newcomer to the market copies a competitor’s trade dress, its intent must be to benefit from the
  goodwill of the competitor’s customers by getting them to believe that the new product is either
  the same, or originates from the same source as the product whose trade dress was copied. Logic
  requires, no less than the presumption of secondary meaning from copying, that from such
  intentional copying arises a presumption that the newcomer is successful and that there is a
  likelihood of confusion. It would be inconsistent not to require one who tries to deceive
  customers to prove they have not been deceived.”).
  38
    Osem Food Indus. Ltd. v. Sherwood Foods, Inc., 917 F.2d 161, 165 (4th Cir. 1990) (“The
  proper course of action in a case such as this where the newcomer copied its competitor’s trade
  dress is to apply the presumption and consider (in the setting of an application for a preliminary
  injunction) whether the newcomer presented sufficient evidence to rebut the presumption.”);
  Larsen v. Terk Technologies Corp., 151 F.3d 140, 148 (4th Cir. 1998) (“courts have almost
  unanimously presumed a likelihood of confusion upon a showing that the defendant intentionally
  copied the plaintiff’s trademark or trade dress”) (emphasis in original).”).
  39
     Osem Food Indus. Ltd. v. Sherwood Foods, Inc., 917 F.2d 161, 165 (4th Cir. 1990) (“Logic
  requires, no less than the presumption of secondary meaning from copying, that from such
  intentional copying arises a presumption that the newcomer is successful and that there is a
  likelihood of confusion. It would be inconsistent not to require one who tries to deceive
  customers to prove they have not been deceived.”).

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                         PLAINTIFF’S PROPOSED INSTRUCTION NO. 11

                  LIKELIHOOD OF CONFUSION FACTORS – OTHER FACTORS

            In evaluating the remaining likelihood of confusion factors, you may consider the

  following:

            Similarity of the two trademarks or trade dress to consumers: This factor may be

  evaluated through a visual inspection of Reynolds trade dress and Handi-Foil’s trade dress.40

            Similarity of the goods or services that the trademarks or trade dress identify: This factor

  considers the similarity of the goods identified by Reynolds trade dress and Handi-Foil’s trade

  dress. If you conclude that Reynolds and Handi-Foil’s goods are similar, then this factor weighs

  in favor of Reynolds.41

            Similarity of the facilities used by the parties: This factor considers whether Reynolds

  and Handi-Foil sell their goods through the same retail outlets to the same customers. If you

  conclude that both Reynolds and Handi-Foil sell the same products through the same or similar

  stores to the same customers, then this factor weighs in favor of Reynolds.42

            Similarity of advertising used by the parties: In comparing the parties’ advertising, you

  should consider the media used, the geographic areas in which advertising occurs, the

  appearance of the advertisements, and the content of the advertisements.43

            Quality of Handi-Foil’s product: Consideration of the quality of the Handi-Foil’s product

  is appropriate in situations involving the production of cheap copies or knockoffs of a


  40
    Tools USA and Equipment Co. v. Champ Frame Straightening Equipment, Inc., 87 F.3d 654,
  660 (4th Cir. 1996) (“[a] visual inspection of the catalogs is certainly a way to evaluate ‘the
  similarity of the trade dress’”).
  41
       George & Co. LLC v. Imagination Entertainment Ltd., 575 F.3d 383, 397 (4th Cir. 2009).
  42
       Pizzeria Uno Corp. v. Temple, 747 F.2d 1522, 1535 (4th Cir. 1984).
  43
       CareFirst of Maryland, Inc. v. First Care, P.C., 434 F.3d 263, 273 (4th Cir. 2006).

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  competitor’s trademark-protected goods. If you conclude that Handi-Foil markets a product

  under a mark or trade dress similar to that affixed by Reynolds to a similar product but of

  superior manufacture, and that Handi-Foil’s product is markedly inferior, this is likely to be

  highly probative of Handi-Foil’s reliance on the similarity of the two trade dresses to generate

  undeserved sales.44

            Sophistication of the consuming public: In analyzing this factor you may consider the

  nature of the product or its price.45 When products are relatively low-priced and subject to

  impulse buying, the risk of likelihood of confusion is increased.46




  44
       Sara Lee Corp. v. Kayser-Roth Corp., 81 F.3d 455, 467 (4th Cir. 1996).
  45
    Rosetta Stone Ltd. v. Google, Inc., 676 F.3d 144, 160 (4th Cir. 2012) (“a court may reach a
  conclusion about consumer sophistication based solely on the nature of the product or its price”)
  (citation omitted).
  46
    Recot, Inc. v. Becton, 214 F.3d 1322, 1329 (Fed. Cir. 2000) (“When products are relatively
  low-priced and subject to impulse buying, the risk of likelihood of confusion is increased
  because purchasers of such products are held to a lesser standard of purchasing care.”); Sara Lee
  Corp. v. Kayser-Roth Corp., Civ. No. 6:92CV00460, 1992 WL 436279, at *24 (M.D.N.C. Dec.
  1, 1992) (“In the present case [involving pantyhose sold at convenience stores] this risk of initial
  confusion is particularly high since the product is a low priced item that consumers often only
  take seconds to purchase.”).

                                                   19
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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 12

              UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN

          To establish a claim for unfair competition or false designation under the Lanham Act,

  Reynolds must prove that Handi-Foil used in commerce in connection with its goods or services,

  or the packaging for its goods, a word, term, name, symbol, or device, or any combination

  thereof, or any false designation of origin, which is likely to cause confusion, or to cause

  mistake, or to deceive as to the affiliation, connection, or association of Handi-Foil with

  Reynolds, or as to the origin, sponsorship, or approval of Handi-Foil’s goods, services, or

  commercial activities by Reynolds.47




  47
    15 U.S.C. § 1125(a)(1) (“Any person who, on or in connection with any goods or services, or
  any container for goods, uses in commerce any word, term, name, symbol, or device, or any
  combination thereof, or any false designation of origin, false or misleading description of fact, or
  false or misleading representation of fact, which—(A) is likely to cause confusion, or to cause
  mistake, or to deceive as to the affiliation, connection, or association of such person with another
  person, or as to the origin, sponsorship, or approval of his or her goods, services, or commercial
  activities by another person”).

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 13

                        FAIR USE AS A DEFENSE TO INFRINGEMENT

          Handi-Foil can avoid liability for trademark or trade dress infringement if it can establish

  by a preponderance of the evidence that its use of Reynolds’ trademark or trade dress is a fair

  use. “Fair use” is a use, (1) made fairly and in good faith by a defendant, (2) only to describe its

  own goods, and (3) without using the allegedly infringing mark as a trademark, i.e., to designate

  source, affiliation, sponsorship or branding.48 However, referring to another party’s trademark or

  trade dress to help describe your own product or service, such as by comparison, is not a

  permissible fair use.49

          “Fair use” is an affirmative defense to infringement.50 Because it is an affirmative

  defense, “fair use” does not negate the elements of an infringement claim. Rather, the “fair use”




  48
    15 U.S.C. § 1115(b)(4); Dayton Progress Corp. v. Lane Punch Corp., 917 F.2d 836, 840 (4th
  Cir. 1990) (“To establish a fair use defense for these designators, Lane must prove that the
  designators are used ‘fairly and in good faith’ only to describe the punches and that the
  infringing mark is not used as a trademark.”).
  49
    Lorillard Tobacco Co. v. S&M Brands, Inc., 616 F. Supp.2d 581, 589 (E.D. Va. 2009) (finding
  trademark infringement by “COMPARE TO” claim on cigarettes and rejecting nominative fair
  use as a defense: “While the Third Circuit and Ninth Circuit apply this standard differently, the
  Fourth Circuit has not adopted it in any form. National Fed’n of the Blind v. Loompanics Enters.,
  936 F.Supp. 1232, 1241 (D.Md.1996) (‘Because the New Kids test is not the law of this Circuit,
  and because neither the statute nor Fourth Circuit case law portend its adoption, I decline to
  follow it.’). This Court, therefore, will not either. Accordingly, no statutory or common law
  defense exists to Defendant’s alleged infringement, and as such, Plaintiff is likely to succeed on
  the merits.”).
  50
    15 U.S.C. § 1115(b)(4); KP Permanent Make-Up, Inc. v. Lasting Impression I, Inc., 543 U.S.
  111, 118 (2004) (referring to “an affirmative defense of fair use, available to a party whose ‘use
  of the name, term, or device charged to be an infringement is a use, otherwise than as a mark, ...
  of a term or device which is descriptive of and used fairly and in good faith only to describe the
  goods or services of such party, or their geographic origin ....’ § 1115(b)(4).”).

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  defense comes into play only when infringement – including a likelihood of confusion – has

  been established.51

          Handi-Foil must prove each of the elements of fair use by a preponderance of the

  evidence.52




  51
    Shakespeare Co. v. Silstar Corp. of America, Inc., 110 F.3d 234, 243 (4th Cir. 1997) (“The
  fair-use defense comes into play only when infringement—including a likelihood of confusion—
  has been established.”); see also KP Permanent Make-Up, Inc. v. Lasting Impression I, Inc., 543
  U.S. 111, 120 (2004)
  52
    Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 590 (1994) (placing burden of proof of fair
  use on defendant in copyright infringement case); see also Dixon v. U.S., 548 U.S. 1, 13 (2006)
  (noting long common law history that party asserting affirmative defenses bears the burden of
  proof).

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 14

                              FEDERAL TRADEMARK DILUTION

          In addition to infringement of its trademark and trade dress, Reynolds claims that Handi-

  Foil is committing trademark dilution.        Dilution is not concerned with confusion in the

  marketplace. Rather, dilution theory provides that if customers or prospective customers see the

  plaintiff’s famous mark used by other persons in a non-confusing way to identify other sources

  for many different goods and services, then the ability of the famous mark to clearly identify and

  distinguish only one source might be “diluted” or weakened. Thus, trademark dilution is the

  whittling away of the established trademark’s selling power and value through its unauthorized

  use by others.53

       To prove trademark dilution Reynolds must show:

          (1) it owns a famous mark that is distinctive;

          (2) Handi-Foil has commenced using a mark in commerce that allegedly is diluting the

  famous mark;

          (3) a similarity between Handi-Foil’s mark and Reynolds’ famous mark gives rise to an

  association between the marks; and

          (4) the association is likely to impair the distinctiveness of Reynolds’ famous mark or

  likely to harm the reputation of Reynolds’ famous mark.54


  53
     Rosetta Stone Ltd. v Google, Inc., 676 F.3d 144, 167 (4th Cir. 2012) (“Dilution is not
  concerned with confusion in the marketplace. Rather, dilution theory provides that ‘if customers
  or prospective customers see the plaintiff’s famous mark used by other persons in a non-
  confusing way to identify other sources for many different goods and services, then the ability of
  the famous mark to clearly identify and distinguish only one source might be “diluted” or
  weakened.’ Thus, trademark dilution is ‘the whittling away of the established trademark’s selling
  power and value through its unauthorized use by others.’”) (citations omitted).
  54
    Louis Vuitton Malletier S.A. v. Haute Diggity Dog, LLC, 507 F.3d 252, 264-65 (4th Cir. 2007)
  (“Thus, to state a dilution claim under the TDRA, a plaintiff must show: (1) that the plaintiff

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          In proving its dilution claim, Reynolds does not need to show actual or likely confusion,

  the presence of competition, or actual economic loss or reputational injury.55




  owns a famous mark that is distinctive; (2) that the defendant has commenced using a mark in
  commerce that allegedly is diluting the famous mark; (3) that a similarity between the
  defendant’s mark and the famous mark gives rise to an association between the marks; and (4)
  that the association is likely to impair the distinctiveness of the famous mark or likely to harm
  the reputation of the famous mark.”).
  55
    Louis Vuitton Malletier S.A. v. Haute Diggity Dog, LLC, 507 F.3d 252, 265 (4th Cir. 2007);
  Rosetta Stone Ltd. v Google, Inc., 676 F.3d 144, 171 (4th Cir. 2012) (“Under the FTDA, Rosetta
  Stone must show only a likelihood of dilution and need not prove actual economic loss or
  reputational injury.”).

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                          PLAINTIFF’S PROPOSED INSTRUCTION NO. 15

                                 LIKELIHOOD OF DILUTION – FAME

            A trademark or trade dress is “famous” when it is widely recognized by the general

  consuming public of the United States as a designation of source of the goods of the trademark’s

  or trade dress’s owner.56

            A trademark or trade dress is “distinctive” when it has the ability to identify a single

  source and thus maintain its selling power.57

            In determining whether Reynolds’ trade dress is famous you may consider all relevant

  factors, including the following:

            (i) The duration, extent, and geographic reach of advertising and publicity of Reynolds

  trade dress, whether advertised or publicized by the Reynolds or third parties;

            (ii) The amount, volume, and geographic extent of sales of goods or services offered

  under Reynolds’ trade dress;

            (iii) The extent of actual recognition of Reynolds trade dress; and

            (iv) that Reynolds trade dress is registered at the U.S. Patent & Trademark Office on the

  principal register.58




  56
    15 U.S.C. § 1125(c)(1); Louis Vuitton Malletier S.A. v. Haute Diggity Dog, LLC, 507 F.3d 252,
  264 (4th Cir. 2007) (“A mark is ‘famous’ when it is ‘widely recognized by the general
  consuming public of the United States as a designation of source of the goods or services of the
  mark’s owner.’”).
  57
    Louis Vuitton Malletier S.A. v. Haute Diggity Dog, LLC, 507 F.3d 252, 265 (4th Cir. 2007)
  (“In the context of blurring, distinctiveness refers to the ability of the famous mark uniquely to
  identify a single source and thus maintain its selling power.”).
  58
       15 U.S.C. § 1125(c)(2).

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                        PLAINTIFF’S PROPOSED INSTRUCTION NO. 16

                                     LIKELIHOOD OF DILUTION

           Reynolds does not need to show actual dilution of its trademark or trade dress to prevail.

  Instead, Reynolds must show a likelihood of dilution. Likelihood of dilution is determined based

  on weighing a number of factors, including:

           (1) The degree of similarity between Handi-Foil’s mark or trade dress and Reynolds’

  trademark or trade dress.

           (2) The degree of inherent or acquired distinctiveness of Reynolds trademark or trade

  dress.

           (3) The extent to which the Reynolds is engaging in substantially exclusive use of its

  trademark or trade dress.

           (4) The degree of recognition of the Reynolds trademark or trade dress.

           (5) Whether the Handi-Foil intended to create an association with the Reynolds’

  trademark or trade dress.

           (6) Any actual association between Handi-Foil’s trade dress and Reynolds’ trademark or

  trade dress.59

           Not every factor will be relevant in every case, and not every case will require extensive

  consideration of each factors.60

  59
    15 U.S.C. § 1125(c)(2)(B); Louis Vuitton Malletier S.A. v. Haute Diggity Dog, LLC, 507 F.3d
  252, 266 (4th Cir. 2007) (“To determine whether a junior mark is likely to dilute a famous mark
  through blurring, the TDRA directs the court to consider all factors relevant to the issue,
  including six factors that are enumerated in the statute: (i) The degree of similarity between the
  mark or trade name and the famous mark. (ii) The degree of inherent or acquired distinctiveness
  of the famous mark. (iii) The extent to which the owner of the famous mark is engaging in
  substantially exclusive use of the mark. (iv) The degree of recognition of the famous mark. (v)
  Whether the user of the mark or trade name intended to create an association with the famous
  mark. (vi) Any actual association between the mark or trade name and the famous mark. 15
  U.S.C.A. § 1125(c)(2)(B).”).

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 17

                                  POLICING OF TRADEMARKS

          The strength of the distinctiveness of a trademark or trade dress can be weakened by

  failing to take action against infringers.61 However, a trademark owner is not required to act

  immediately against every possible infringer.62 A company may be excused for not taking action

  against an infringer if the trademark owner believes the infringement will be short lived and will

  disappear on its own.63 A trademark owner has no obligation to sue until the likelihood of

  confusion looms large.64

          Successful policing of a trademark or trade dress adds to its strength to the extent that it

  prevents weakening of the mark’s distinctiveness in the relevant market.65


  60
    Louis Vuitton Malletier S.A. v. Haute Diggity Dog, LLC, 507 F.3d 252, 266 (4th Cir. 2007)
  (“Not every factor will be relevant in every case, and not every blurring claim will require
  extensive discussion of the factors.”).
  61
    Sweetheart Plastics, Inc. v. Detroit Forming, Inc., 743 F.2d 1039, 1048 (4th Cir. 1984) (“The
  only relevance in the typical case of failure to prosecute others is as to the element of strength of
  the mark. That is, the mark is so crowded in by similar marks used by competitors that the mark
  is alive, but weakened.”) Wallpaper Mfrs., Ltd. v. Crown Wallcovering Corp., 680 F.2d 755,
  766 (4th Cir. 1982) (“distinctiveness can be lost by failing to take action against infringers.”).
  62
    Wallpaper Mfrs., Ltd. v. Crown Wallcovering Corp., 680 F.2d 755, 766 (4th Cir. 1982)
  (“However, an owner is not required to act immediately against every possibly infringing use to
  avoid a holding of abandonment.”).
  63
    Wallpaper Mfrs., Ltd. v. Crown Wallcovering Corp., 680 F.2d 755, 766 (4th Cir. 1982) (“Such
  a requirement would unnecessarily clutter the courts. Some infringements are short-lived and
  will disappear without action by the trademark owner.”).
  64
    Sara Lee Corp. v. Kayser-Roth Corp., 81 F.3d 455, 462 (4th Cir. 1996) (“We agree with
  Professor McCarthy that the owner ‘has no obligation to sue until the likelihood of confusion
  looms large.”’) (internal citations omitted).
  65
    Renaissance Greeting Cards, Inc. v. Dollar Tree Stores, Inc., 405 F. Supp. 2d 680, 692 (E.D.
  Va. 2005) (“successful policing of a mark adds to its strength to the extent that it prevents
  weakening of the mark's distinctiveness in the relevant market.”) citing McCarthy on
  Trademarks and Unfair Competition § 11:91.


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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 18

                             ELEMENTS OF FALSE ADVERTISING

          In order to succeed on its false advertising claim, Reynolds must show: (1) Handi-Foil

  made a false or misleading statement in a commercial advertisement about either a Handi-Foil or

  Reynolds product; (2) the misrepresentation was material in that it is likely to influence the

  purchasing decision; (3) the misrepresentation actually deceives or has a tendency to deceive a

  substantial segment of its audience; (4) Handi-Foil placed the misrepresentation in interstate

  commerce; and (5) Handi-Foil’s misrepresentation has been or is likely to injure Reynolds as a

  result of the misrepresentation, either by a direct diversion of sales or by a lessening of goodwill

  associated with its products.66

          A statement is material if it is likely to influence a purchasing decision.67 In other words,

  a statement is material if it describes a product or service as having a characteristic that most

  consumers would find appealing.68




  66
    PBM Prod., LLC v Mead Johnson & Co., 639 F.3d 111, 120 (4th Cir. 2011) (“Thus, a plaintiff
  asserting a false advertising claim under the Lanham Act must establish that: (1) the defendant
  made a false or misleading description of fact or representation of fact in a commercial
  advertisement about his own or another’s product; (2) the misrepresentation is material, in that it
  is likely to influence the purchasing decision; (3) the misrepresentation actually deceives or has
  the tendency to deceive a substantial segment of its audience; (4) the defendant placed the false
  or misleading statement in interstate commerce; and (5) the plaintiff has been or is likely to be
  injured as a result of the misrepresentation, either by direct diversion of sales or by a lessening of
  goodwill associated with its products.”).
  67
    PBM Prod., LLC v Mead Johnson & Co., 639 F.3d 111, 120 (4th Cir. 2011) (identifying the
  materiality factor as, “the misrepresentation is material, in that it is likely to influence the
  purchasing decision”).
  68
    Basile Baumann Prost Cole & Assocs., Inc. v. BBP & Assocs. LLC, 875 F. Supp. 2d 511, 529-
  30 (D. Md. 2012) (“A statement is material if it describes a product or service as having a
  characteristic that most consumers would find appealing.”) (citing cases from within the Fourth
  Circuit).

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 19

                   ESTABLISHING A COMMERCIAL ADVERTISEMENT

          For Handi-Foil’s statements to be commercial advertisements, they must be: (1)

  commercial speech; (2) made by Handi-Foil in competition with Reynolds; (3) for the purpose of

  influencing consumers to buy Handi-Foil’s goods; and (4) disseminated sufficiently to the

  relevant purchasing public to constitute “advertising” or “promotion.”69

          Concerning the fourth factor, one-to-one promotion, such as in sales meetings, may be

  considered “advertising” or “promotion.”70 Also, where the relevant market is limited, the level

  of dissemination can be low.71




  69
    Applied Med. Res. Corp. v. Steuer, 527 F. Supp.2d 489, 493 (E.D. Va. 2007) (“In Fashion
  Boutique, the court restated the four-part test for determining what representations qualify as
  ‘commercial advertising or promotion.’ The contested representations must be (1) commercial
  speech; (2) by a defendant who is in commercial competition with plaintiff; (3) for the purpose
  of influencing consumers to buy defendant's goods or services; and (4) although representations
  less formal than those made as part of a classic advertising campaign may suffice, they must be
  disseminated sufficiently to the relevant purchasing public. Id. at 56. Although this standard for
  ‘commercial advertising or promotion’ has never been formally adopted by the Fourth Circuit, it
  has been uniformly embraced by district courts in this Circuit.”).
  70
    Neuros Co. v. KTurbo, Inc., 698 F.3d 514, 522 (7th Cir. 2012) (reversing district court’s
  dismissal of Lanham Act false advertising claim based on one-to-one sales meetings).
  71
     Neuros Co. v. KTurbo, Inc., 698 F.3d 514, 523 (7th Cir. 2012) (“‘the required level of
  dissemination to the relevant purchasing public “will vary according to the specifics of the
  industry.”’”) (citation omitted); Tao of Systems Integration, Inc. v. Analytical Servs. & Materials,
  Inc., 299 F. Supp.2d 565, 573 (E.D. Va. 2004) (“Whether such misrepresentations actually
  qualify as advertising or promotion depends on the number of alleged contacts or
  misrepresentations made in relation to the total market. If the total market is small, isolated
  contacts may be enough. In various scenarios, courts have found that communications to a very
  limited number of consumers can reach the required level of dissemination to constitute
  commercial advertising or promotion.”) (citations omitted).

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 20

                                     ESTABLISHING FALSITY

          Falsity may be established in one of two ways. The contested statement or representation

  must be either (1) literally false on its face or, (2) although literally true, likely to mislead and to

  confuse consumers given the merchandising context.72 A statement that is literally false on its

  face may be either explicitly false, or conveyed by necessary implication when considering the

  statement within its full context such that the audience would recognize the claim as readily as if

  it had been explicitly stated.73 A statement that is literally false will constitute false advertising,

  even without evidence of any consumer confusion.74

          Certain types of advertising claims either expressly or impliedly assert that the favorable

  fact is test-validated.75 These are called “tests show” claims. In this case, Handi-Foil’s claims

  that lab testing shows equivalent strength are “tests show” claims. To prove a “tests show” claim




  72
     C.B. Fleet Co., Inc. v. SmithKline Beecham Consumer Healthcare, L.P., 131 F.3d 430, 434
  (4th Cir. 1997) (“To constitute a violation of § 43(a), by either type of advertisement ‘the
  contested statement or representation must be either false on its face or, although literally true,
  likely to mislead and to confuse consumers given the merchandising context.’).
  73
    PBM Prods., LLC v. Mead Johnson & Co., 639 F.3d 111, 120 (4th Cir. 2011) (“A literally false
  message may be either explicit or conveyed by necessary implication when, considering the
  advertisement in its entirety, the audience would recognize the claim as readily as if it had been
  explicitly stated.”).
  74
    PBM Prods., LLC v. Mead Johnson & Co., 639 F.3d 111, 120 (4th Cir. 2011) (“Where the
  advertisement is literally false, a violation may be established without evidence of consumer
  deception.”).
  75
    C.B. Fleet Co., Inc. v. SmithKline Beecham Consumer Healthcare, L.P., 131 F.3d 430, 435
  (4th Cir. 1997) (“When an advertising claim of favorable fact either expressly or impliedly
  asserts that the fact is testor study-validated, the fact of the validation becomes an integral and
  critical part of the claim. Such a claim may therefore be proven literally false by showing only
  that the test asserted to validate it did not in fact do so.”).

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  to be literally false, Reynolds need only prove that the test asserted to validate the claim did not,

  in fact, prove the claim.76

          An alternative type of advertising claim makes no reference to validating tests, but simply

  asserts baldly a favorable fact about a product. These are called “bald claims,” and those claims

  can be proven literally false only by showing the baldly asserted fact is false.77 Handi-Foil’s

  “new” claim is an example of a “bald claim.”




  76
    C.B. Fleet Co., Inc. v. SmithKline Beecham Consumer Healthcare, L.P., 131 F.3d 430, 435
  (4th Cir. 1997) (“When an advertising claim of favorable fact either expressly or impliedly
  asserts that the fact is testor study-validated, the fact of the validation becomes an integral and
  critical part of the claim. Such a claim may therefore be proven literally false by showing only
  that the test asserted to validate it did not in fact do so.”).
  77
    C.B. Fleet Co., Inc. v. SmithKline Beecham Consumer Healthcare, L.P., 131 F.3d 430, 435
  (4th Cir. 1997) (“On the other hand, where the claim is made baldly, with no assertion of test or
  study validation, its literal falsity may only be proven by proof that the favorable fact baldly
  asserted is false.”).

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 21

                                              DAMAGES

          If you find that Handi-Foil has committed trademark or trade dress infringement, then

  you should consider whether to award damages to Reynolds. The law allows Reynolds to

  recover (1) Handi-Foil’s profits, or (2) any damages sustained by Reynolds.78 In this case,

  Reynolds seeks Handi-Foil’s profits.

          The purpose of allowing recovery of the infringer’s profits is to take all the economic

  incentive out of trademark infringement.79 It may be appropriate to award an infringer’s profits

  to compensate for diverted sales, to remedy for unjust enrichment, or to deter future

  infringement.80

          In considering whether to award Handi-Foil’s profits on its infringing sales to Reynolds,

  you should consider:

          (1) whether Handi-Foil had the intent to confuse or deceive,

          (2) whether sales have been diverted,

          (3) the adequacy of other remedies,

          (4) any unreasonable delay by Reynolds in asserting its rights,

          (5) the public interest in making the misconduct unprofitable, and

  78
    15 U.S.C. § 1117(a) (“When a violation of any right of the registrant of a mark registered in the
  Patent and Trademark Office, a violation under section 1125(a) or (d) of this title, or a willful
  violation under section 1125(c) of this title, shall have been established in any civil action arising
  under this chapter, the plaintiff shall be entitled, subject to the provisions of sections
  1111 and 1114 of this title, and subject to the principles of equity, to recover (1) defendant's
  profits, (2) any damages sustained by the plaintiff, and (3) the costs of the action.”).
  79
    American Rice, Inc. v. Producers Rice Mill, Inc., 518 F.3d 321, 340 (5th Cir. 2008) (“[t]he
  purpose of section 1117 is to take all the economic incentive out of trademark infringement.”).
  80
    American Rice, Inc. v. Producers Rice Mill, Inc., 518 F.3d 321, 340 (5th Cir. 2008) (“This
  Court has held it appropriate to award profits of an infringer pursuant to § 1117(a) for various
  purposes: to compensate for diverted sales, to remedy unjust enrichment of the infringer, or to
  deter future infringement.”).

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          (6) whether it is a case of palming off.81

          The first factor -- whether the defendant had an intent to confuse or deceive -- addresses

  whether there has been a willful infringement on the trademark or trade dress rights of Reynolds,

  or whether Handi-Foil has acted in bad faith.82 While the issue of whether Handi-Foil’s alleged

  infringement of Reynolds’ trademark and trade dress was willful is an important factor in

  determining whether to award damages, it is not required that you find willfulness to make a

  damages award.83

          The second factor -- whether sales have been diverted -- involves the issue of whether the

  Reynolds lost sales as a result of the Handi-Foil’s alleged infringement of Reynolds’ trademark

  and trade dress, and the extent to which Reynolds was in the market area where Handi-Foil’s

  alleged infringement occurred.84


  81
    Synergistic Intern., LLC v. Korman, 470 F.3d 162, 175 (4th Cir. 2006) (“In making a damages
  award under the Lanham Act, the Third and the Fifth Circuits have identified six factors to guide
  the process. As those courts have spelled out, these factors include: (1) whether the defendant
  had the intent to confuse or deceive, (2) whether sales have been diverted, (3) the adequacy of
  other remedies, (4) any unreasonable delay by the plaintiff in asserting his rights, (5) the public
  interest in making the misconduct unprofitable, and (6) whether it is a case of palming off. We
  agree with Korman that the district court abused its discretion in making the damages award, and
  that the foregoing factors are appropriate for consideration in connection with damages issues in
  Lanham Act litigation.”) (citations omitted).
  82
    Synergistic Intern., LLC v. Korman, 470 F.3d 162, 175 (4th Cir. 2006) (“The first -- whether
  the defendant had an intent to confuse or deceive -- addresses whether there has been a willful
  infringement on the trademark rights of the plaintiff, or whether the defendant has acted in bad
  faith.”)
  83
    Synergistic Intern., LLC v. Korman, 470 F.3d 162, 175 (4th Cir. 2006) (“We agree, however,
  with the Third and Fifth Circuits that although willfulness is a proper and important factor in an
  assessment of whether to make a damages award, it is not an essential predicate thereto. In other
  words, a lack of willfulness or bad faith should weigh against an award of damages being made,
  but does not necessarily preclude such an award.”) (citations omitted).
  84
    Synergistic Intern., LLC v. Korman, 470 F.3d 162, 175 (4th Cir. 2006) (“The second factor
  identified above -- whether sales have been diverted -- involves the issue of whether the plaintiff
  lost sales as a result of the defendant's trademark infringement activities, and the extent to which
  the plaintiff had entered the market area where the infringement occurred.”)

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          The third factor -- the adequacy of other remedies -- addresses whether another remedy,

  such as an injunction, might more appropriately correct any injury Reynolds suffered from

  Handi-Foil’s alleged infringement.85

          The fourth factor -- unreasonable delay by Reynolds in asserting its rights -- addresses the

  temporal issue of whether Reynolds waited too long, after the infringement began, before

  seeking court relief.86

          The fifth factor -- the public interest in making the infringing misconduct unprofitable --

  addresses the balance that a court should strike between a plaintiff's right to be compensated for

  the defendant's trademark infringement activities, and the statutory right of the defendant to not

  be assessed a penalty.87

          The sixth factor “palming off” occurs when the defendant used its infringement of the

  plaintiff’s mark to sell its own products, misrepresenting to the public that defendant’s products

  were really those of plaintiff.88 If you find that Handi-Foil used Reynolds’ trademark or trade

  dress to sell its own products, misrepresenting to the public that Handi-Foil’s products were


  85
     Synergistic Intern., LLC v. Korman, 470 F.3d 162, 176 (4th Cir. 2006) (The third of the six
  factors -- the adequacy of other remedies -- addresses whether another remedy, such as an
  injunction, might more appropriately correct any injury the plaintiff suffered from the
  defendant's infringement activities.”).
  86
    Synergistic Intern., LLC v. Korman, 470 F.3d 162, 176 (4th Cir. 2006) (“The fourth factor --
  unreasonable delay by the plaintiff in asserting its rights -- addresses the temporal issue of
  whether the plaintiff waited too long, after the infringement activities began, before seeking
  court relief.”).
  87
    Synergistic Intern., LLC v. Korman, 470 F.3d 162, 176 (4th Cir. 2006) (“The fifth factor -- the
  public interest in making the infringing misconduct unprofitable -- addresses the balance that a
  court should strike between a plaintiff's right to be compensated for the defendant's trademark
  infringement activities, and the statutory right of the defendant to not be assessed a penalty.”).
  88
    Synergistic Intern., LLC v. Korman, 470 F.3d 162, 176 (4th Cir. 2006) (“The sixth and final
  factor—whether the situation involved a case of ‘palming off’—involves the issue of whether the
  defendant used its infringement of the plaintiff’s mark to sell its products, misrepresenting to the
  public that the defendant’s products were really those of the plaintiff.”).

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  really those of Reynolds, then you should find “palming off” and this factor would favor an

  award of Handi-Foil’s profits to Reynolds.




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                        PLAINTIFF’S PROPOSED INSTRUCTION NO. 22

                          CALCULATION OF HANDI-FOIL’S PROFITS

          In determining Handi-Foil’s profits, Reynolds needs to prove the amount of Handi-Foil’s

  sales of infringing products. Then Handi-Foil must prove all elements of costs or deductions to

  arrive at the amount profit.89 In this case, the parties have stipulated that Handi-Foil’s net sales

  from sales of all the products Handi-Foil has sold in package designs accused in this action are

                  Therefore, you need only consider whether Handi-Foil has proven all elements of

  costs or deductions to arrive at its profits.

          In determining deductible costs, Handi-Foil must prove two things: (1) that the type of

  cost or deduction is allowed to be deducted from its sales under the law; and (2) the amount of

  those allowable costs or deductions.90

          Only certain types of costs or deductions can be subtracted to arrive at an appropriate

  profit number. In particular, only variable costs, not fixed costs, are to be deducted.91 Variable

  costs are those costs directly attributable to the sale of the infringing goods.92 The difficulty in




  89
    15 U.S.C. § 1117(a) (“In assessing profits the plaintiff shall be required to prove defendant's
  sales only; defendant must prove all elements of cost or deduction claimed.”).
  90
    Shell Trademark Mgmt. BV v. Ray Thomas Petroleum Co., No. 3:07-cv-163, 2009 WL
  2105933, at *3 (W.D. N.C. Jul. 13, 2009) (“First, the defendant must prove that the type of cost
  or deduction is allowed to be deducted from the defendant’s sales under the Lanham Act.
  Second, the defendant must prove the amount of the allowable costs or deductions.”) (citing
  Maltina Corp. v. Cawy Bottling Co., 613 F.2d 582, 586-87 (5th Cir. 1980)).
  91
    JTH Tax , Inc. v. H&R Block Eastern Servs., Inc., 245 F. Supp.2d 749, 751 (E.D. Va. 2002)
  (“Legal authority dictates that only variable costs, and not fixed costs, are to be deducted from
  gross revenues to calculate profits.”).
  92
    JTH Tax , Inc. v. H&R Block Eastern Servs., Inc., 245 F. Supp.2d 749, 752 (E.D. Va. 2002)
  (disallowing deduction where no proof of variable costs “attributed solely to [the product]”);
  Shell Trademark Mgmt. BV v. Ray Thomas Petroleum Co., No. 3:07-cv-163, 2009 WL 2105933,
  at *3 (W.D.N.C. Jul. 13, 2009); see also Capital Concepts, Inc. v. Mountain Corp., 936 F.
  Supp.2d 661, 673 (W.D. Va. 2013) (interpreting parallel scheme under the Copyright Act, “The

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  separating variable costs from fixed costs does not excuse Handi-Foil’s burden to identify

  variable costs attributed solely to the infringing product.93 Overhead expenses are deductible

  only if Handi-Foil can demonstrate the expenses were of actual assistance in the production,

  distribution or sale of the infringing product.94 However, a proportionate share of overhead

  expenses would not be deductible if Handi-Foil’s sales of the infringing product constitute only a

  small percentage of its overall sales.95

          Finally, if you find infringement by Handi-Foil, and determine that Reynolds is entitled

  to Handi-Foil’s profits, then Reynolds would be entitled all profits from the infringing sales.96


  only expenses Defendants are entitled to deduct from revenues of the allegedly infringing t-shirts
  are those that they can show were actually increased by the production or sale of the t-shirts.”).
  93
    JTH Tax , Inc. v. H&R Block Eastern Servs., Inc., 245 F. Supp.2d 749, 752 (E.D. Va. 2002)
  (“Defendants bear the burden, which they found impossible to meet (as did the Plaintiffs). See
  Tr. at 308, 800. The Court has considered Defendants’ evidence of costs and finds that
  Defendants did not meet their burden of proof on several fronts. The Court cannot speculate what
  Defendants’ variable costs might be and declines to reduce the damages award on something that
  is impossible to determine. Moreover, the Court will not permit Defendants the windfall
  opportunity to allocate their fixed costs to reduce an award for impermissibly obtained profits.”).
  94
    Shell Trademark Mgmt. BV v. Ray Thomas Petroleum Co., No. 3:07-cv-163, 2009 WL
  2105933, at *4 (W.D.N.C. Jul. 13, 2009) (“An award of infringer’s profits is aimed in part at
  deterring infringements and in part at appropriately compensating the [trademark] holder. These
  goals ... can best be achieved by allowing a deduction for overhead only when the infringer can
  demonstrate it was of actual assistance in the production, distribution or sale of the infringing
  product.”) (quoting copyright case, Kamar Int’l, Inc. v. Russ Berrie and Co., 752 F.2d 1326,
  1332 (9th Cir. 1984)).
  95
    Maltina Corp. v. Cawy Bottling Co., 613 F.2d 582, 586 (5th Cir. 1980) (“Furthermore, we note
  that a proportionate share of overhead is not deductible when the sales of an infringing product
  constitute only a small percentage of total sales.”).
  96
    Hamilton-Brown Shoe Co. v. Wolf Bros. & Co., 240 U.S. 251, 262 (1916) (“In the very nature
  of the case it would be impossible to ascertain to what extent he could have effected sales and at
  what prices except for the use of the trademark. No one will deny that on every principle of
  reason and justice the owner of the trademark is entitled to so much of the profit as resulted from
  the use of the trademark. The difficulty lies in ascertaining what proportion of the profit is due to
  the trademark, and what to the intrinsic value of the commodity; and as this cannot be
  ascertained with any reasonable certainty, it is more consonant with reason and justice that the
  owner of the trademark should have the whole profit than that he should be deprived of any part
  of it by the fraudulent act of the defendant.”).

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 23

                                   WILLFUL INFRINGEMENT

          Willful infringement occurs when a defendant has knowledge, either actual or

  constructive, that its actions constitute an infringement, or recklessly disregards a trademark

  owner’s rights.97 Constructive knowledge is knowledge that a party should have known through

  the exercise of reasonable diligence.98




  97
    Lyons Partnership, L.P. v. Morris Costumes, Inc., 243 F.3d 789, 799 (4th Cir. 2001) (defining
  willfulness under the Copyright Act); see also McLaughlin v. Richland Shoe Co., 486 U.S. 128,
  134 (1988) (abandoning statute- and context-specific definition of “willfulness” under the Fair
  Labor Standards Act in favor of general definition civil actions from prior Supreme Court cases
  to mean “knew or showed reckless disregard for the matter of whether its conduct was prohibited
  by statute”); In re Seagate Technology, LLC, 497 F.3d 1360, 1371 (Fed. Cir. 2007) (en banc)
  (adopting same definition for willful patent infringement, citing Mclaughlin).
  98
    Imagexpo, L.L.C. v. Microsoft Corp., 281 F. Supp.2d 846, 850 (E.D. Va. 2003) (“The period of
  delay begins at the time the patentee gains actual or constructive knowledge of the defendant's
  potentially infringing activities or when, in the exercise of reasonable diligence, he should have
  known of the defendant's allegedly infringing activities.”).

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                      PLAINTIFF’S PROPOSED INSTRUCTION NO. 24

                                     UNJUST ENRICHMENT

          Reynolds also claims that Handi-Foil was unjustly enriched by its activities. To prove

  unjust enrichment, Reynolds must prove: (1) it conferred a benefit on Handi-Foil; (2) Handi-Foil

  knew of the benefit and should reasonably have expected to pay Reynolds; and (3) Handi-Foil

  accepted or retained the benefit without paying for its value.99 Recovery for unjust enrichment is

  the reasonable value of the benefit incurred.100 In other words, if you find Handi-Foil was

  unjustly enriched, you should award Reynolds as its damages the amount Handi-Foil would have

  expected to pay Reynolds for use of its trademark or trade dress.101




  99
    Schmidt v. Household Finance Corp. II, 276 Va. 108, 116, 661 S.E.2d 834, 838 (Va. 2008)
  (“To state a cause of action for unjust enrichment Schmidt had to allege that: (1) he conferred a
  benefit on Household Finance; (2) Household Finance knew of the benefit and should reasonably
  have expected to repay Schmidt; and (3) Household Finance accepted or retained the benefit
  without paying for its value.”).
  100
     Marine Development Corp. v. Rodak, 225 Va. 137, 144, 300 S.E.2d 763, 767 (Va. 1983)
  (“The measure of recovery is the reasonable value of the services performed, and not the amount
  of benefit which actually accrued from them to him for whom they were performed.”).
  101
     Marine Development Corp. v. Rodak, 225 Va. 137, 144, 300 S.E.2d 763, 767 (Va. 1983)
  (“The measure of recovery is the reasonable value of the services performed, and not the amount
  of benefit which actually accrued from them to him for whom they were performed.”).

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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 25

                  UNFAIR COMPETITION AND TRADEMARK INFRINGEMENT
                                UNDER VIRGINIA LAW

          The test for unfair competition and trademark infringement under Virginia law is the

  same as the test applied under federal law, namely, is Handi-Foil’s use of Reynolds’ trademark

  and Handi-Foil’s product packaging likely to confuse consumers as to the source of goods.102




    Lone Star Steakhouse & Saloon, Inc. v. Alpha of Virginia, Inc., 43 F.3d 922, 930 n.10 (4th Cir.
  102

  1995) (“The test for trademark infringement and unfair competition under the Lanham Act is
  essentially the same as that for common law unfair competition under Virginia law because both
  address the likelihood of confusion as to the source of the goods or services involved.”) (citations
  omitted)

                                                  40
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                       PLAINTIFF’S PROPOSED INSTRUCTION NO. 26

                        FALSE ADVERTISING UNDER VIRGINIA LAW

          Reynolds has also alleged that Handi-Foil has engaged in false advertising under Virginia

  law. Under Virginia law, false advertising is any non-oral promise, assertion, representation or

  statement of fact which is untrue, deceptive or misleading, if the advertisement is made with the

  intent to sell or to induce the public in any manner to enter into any obligation.103




  103
     Va. Code § 18.2-216; AvePoint, Inc. v. Power Tools, Inc., 2013 WL 5963034, at *18 (W.D.
  Va. 2013) (“Count VII asserts a claim for false advertising under Virginia law. Virginia Code §
  18.2–216 prohibits the use, in any advertisement, of ‘any promise, assertion, representation or
  statement of fact which is untrue, deceptive or misleading,’ if the advertisement is made with the
  ‘intent to sell’ or ‘to induce the public in any manner to enter into any obligation.’ The Supreme
  Court of Virginia has held that the statute only applies to ‘non-oral’ advertisements.”) (citations
  omitted).

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                                     CERTIFICATE OF SERVICE

          I hereby certify that on March 17, 2014, a copy of the foregoing was filed electronically

with the Clerk of Court using the CM/ECF system which will send notification to the following

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